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     Attorneys for Specially Appearing Defendant,
15   Thomson SA
16                                UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA
18                                       SAN FRANCISCO DIVISION
19   IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
     ANTITRUST LITIGATION                            MDL No. 1917
20

21                                                   DECLARATION OF JEFFREY S.
     This Document Relates to:                       ROBERTS IN SUPPORT OF THOMSON
22                                                   SA’S ADMINISTRATIVE MOTION TO
     Sharp Electronics Corp., et al. v.              SEAL AND MOTION TO DISMISS
23   Hitachi, Ltd., et al., No. 13-cv-01173.         SHARP’S FIRST AMENDED
                                                     COMPLAINT
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     DECLARATION OF JEFFREY S. ROBERTS IN        1                       No. 07-5944-SC; MDL No. 1917
     SUPPORT OF THOMSON SA’S MOTION TO DISMISS
     SHARP’S FIRST AMENDED COMPLAINT
     Case 4:07-cv-05944-JST Document 2235-1 Filed 11/25/13 Page 2 of 3



 1          I, Jeffrey S. Roberts, declare and states as follows:
 2          1.      I make this declaration in support of Defendant Thomson SA’s (n/k/a Technicolor
 3   SA) Motion to Dismiss the First Amended Complaint filed by Sharp on October 28, 2013
 4   (“Motion” ) and its Administrative Motion to Seal portions of the same in Sharp Electronics
 5   Corp., et al. v. Hitachi, et al., No. 3:07-cv-5944, MDL No. 1917. The statements contained in
 6   this declaration are based on my personal knowledge and, if called as a witness, I could
 7   competently testify to the following facts.
 8          2.      I am currently an attorney with the law firm Faegre Baker Daniels LLP, counsel
 9   for specially-appearing Defendant, Thomson SA. I am admitted to practice pro hac vice before
10   the United States District Court for the Northern District of California.
11          3.      Thomson SA’s concurrently filed Motion discusses and/or references allegations
12   contained in paragraph 196 of Sharp’s FAC that were: (1) previously filed under seal because
13   they allegedly were derived from documents produced and designated as “Confidential” or
14   “Highly Confidential” by other parties in this action under the terms of the Stipulated Protective
15   Order entered in this case; and (2) were ordered sealed by the Court’s Order Regarding
16   Administrative Motion to Seal Portions of Plaintiffs’ First Amended Complaint [Dkt. No. 2211].
17   Accordingly, the undersigned believes good cause exist to seal the portions of Thomson SA’s
18   Motion that discuss and/or reference the previously sealed allegations contained in paragraph 196
19   of Sharp’s First Amended Complaint.
20          4.      Attached as Exhibit 1 to this Declaration is a true and correct copy of Thomson
21   SA’s Statement of Beneficial Ownership Form 13D/A dated February 8, 2000.
22          5.      Attached as Exhibit 2 to this Declaration is a true and correct copy of the
23   declaration of Fredric Rose submitted in the matter In re: Petition of Fredric Rose, [Dkt. No. 3]
24   Case No. 09-17355 (Bankr. S.D.N.Y. Dec. 16, 2009).
25          6.      Attached as Exhibit 3 to this Declaration is a true and correct copy of the
26   declaration of Adrien Cadieux dated June 28, 2013.
27          7.      Attached as Exhibit 4 to this Declaration is a true and correct copy of excerpts
28   from Thomson SA’s Annual Report Form 20-F dated May 6, 2009.
     DECLARATION OF JEFFREY S. ROBERTS IN      2                             No. 07-5944-SC; MDL No. 1917
     SUPPORT OF THOMSON SA’S MOTION TO DISMISS
     SHARP’S FIRST AMENDED COMPLAINT
     Case 4:07-cv-05944-JST Document 2235-1 Filed 11/25/13 Page 3 of 3



 1            8.     Attached as Exhibit 5 to this Declaration is a true and correct copy of the affidavit
 2   of Michael O’Hara dated September 28, 2005.
 3            9.     Attached as Exhibit 6 to this Declaration is a true and correct copy of the affidavit
 4   of Marie-Ange Debon dated September 2, 2005.
 5            10.    Attached as Exhibit 7 to this Declaration is a true and correct copy of the court’s
 6   Oct. 17, 2005 Order in Audio MPEG, Inc. v. Thomson SA, et al., 05-cv-0565 (E.D. Va. Oct. 17,
 7   2005).
 8            I declare under penalty of perjury under the laws of the United States of America that the
 9   foregoing is true and correct.
10

11   DATED: November 25, 2013
12                                                        /s/ Jeffrey S. Roberts
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     DECLARATION OF JEFFREY S. ROBERTS IN          3                         No. 07-5944-SC; MDL No. 1917
     SUPPORT OF THOMSON SA’S MOTION TO DISMISS
     SHARP’S FIRST AMENDED COMPLAINT
